   AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                             (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))


                                          UNITED STATES DISTRICT COURT
                                       Northern District of Iowa
                UNITED STATES OF AMERICA              ) JUDGMENT IN A CRIMINAL CASE
                                                                                  )
                                     v.                                           ) Case Number: 0862 2:21CR01012-001
                                                                                  )
                 BRIAR ROBERT DETWILER                                            ) USM Number: 35975-509
                                                                                  )
     ORIGINAL JUDGMENT                                                           Christopher J. Nathan
     AMENDED JUDGMENT                                                            Defendant’s Attorney

        Date of Most Recent Judgment:



THE DEFENDANT:
 pleaded guilty to count(s) 1 of the Information filed on March 1, 2021
 pleaded nolo contendere to count(s)
    which was accepted by the court.
 was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                       Offense Ended                     Count
18 U.S.C. § 658                   Conversion of Property Pledged to a Farm                                11/19/2018                          1
                                  Credit Agency




The defendant is sentenced as provided in pages 2 through              7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 The defendant has been found not guilty on count(s)
 Count(s)                                                                      is/are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States Attorney of material changes in economic circumstances.

C.J. Williams
United States District Court Judge
Name and Title of Judge                                                       Signature of Judge

October 4, 2021                                                               October 4, 2021
Date of Imposition of Judgment                                                Date
                      Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 1 of 7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                     (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page        2       of        7
DEFENDANT:                   BRIAR ROBERT DETWILER
CASE NUMBER:                 0862 2:21CR01012-001

                                                                 PROBATION
        The defendant is hereby sentenced to probation for a term of:



                                                              IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
         10 months on Count 1 of the Information.




        The court makes the following recommendations to the Federal Bureau of Prisons:
         It is recommended that the defendant be designated to a Bureau of Prisons facility as close to the defendant's family as
         possible, commensurate with the defendant's security and custody classification needs.

         It is recommended that the defendant participate in the Bureau of Prisons 500-Hour Comprehensive Residential Drug Abuse
         Treatment Program or an alternate substance abuse treatment program.


        The defendant is remanded to the custody of the United States Marshal.

        The defendant must surrender to the United States Marshal for this district:

             at               10:00                  a.m.         p.m.       on              October 18, 2021                    .

             as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:

             before 2 p.m. on                                              .
             as notified by the United States Marshal.
             as notified by the United States Probation or Pretrial Services Office.

                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                           to

at                                                  , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL



                                                                            By
                                                                 DEPUTY UNITED
                   Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21   PageSTATES
                                                                                  2 ofMARSHAL
                                                                                       7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                  (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))
                                                                                                       Judgment—Page         3       of        7
DEFENDANT:                  BRIAR ROBERT DETWILER
CASE NUMBER:                0862 2:21CR01012-001

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant will be on supervised release for a term of:
          3 years on Count 1 of the Information.




                                    MANDATORY CONDITIONS OF SUPERVISION

1)    The defendant must not commit another federal, state, or local crime.
2)    The defendant must not unlawfully possess a controlled substance.
3)    The defendant must refrain from any unlawful use of a controlled substance.
      The defendant must submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
      thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
                  future controlled substance abuse. (Check, if applicable.)
4)         The defendant must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
5)         The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901,
            et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
            where the defendant resides, works, and/or is a student, and/or was convicted of a qualifying offense. (Check, if applicable.)
6)         The defendant must participate in an approved program for domestic violence. (Check, if applicable.)


The defendant must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.




                 Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 3 of 7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                   (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))
                                                                                                             Judgment—Page         4      of    7
 DEFENDANT:                      BRIAR ROBERT DETWILER
 CASE NUMBER:                    0862 2:21CR01012-001


                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant’s supervision, the defendant must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for the defendant’s behavior while on supervision and identify the
minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements in the defendant’s
conduct and condition.

  1)   The defendant must report to the probation office in the federal judicial district where the defendant is authorized to reside within
       72 hours of the time the defendant was sentenced and/or released from imprisonment, unless the probation officer instructs the
       defendant to report to a different probation office or within a different time frame.
  2)   After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer as
       instructed. The defendant must also appear in court as required.
  3)   The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
       getting permission from the court or the probation officer.
  4)   The defendant must answer truthfully the questions asked by the defendant’s probation officer.
  5)   The defendant must live at a place approved by the probation officer. If the defendant plans to change where the defendant lives
       or anything about the defendant’s living arrangements (such as the people the defendant lives with), the defendant must notify
       the probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
       expected change.
  6)   The defendant must allow the probation officer to visit the defendant at any time at the defendant’s home or elsewhere, and the
       defendant must permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that he
       or she observes in plain view.
  7)   The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
       excuses the defendant from doing so. If the defendant does not have full-time employment, the defendant must try to find full-
       time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
       defendant works or anything about the defendant’s work (such as the defendant’s position or the defendant’s job responsibilities),
       the defendant must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, the defendant must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
  8)   The defendant must not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
       defendant knows someone has been convicted of a felony, the defendant must not knowingly communicate or interact with that
       person without first getting the permission of the probation officer.
  9)   If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72
       hours.
10)    The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
       anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
11)    The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission of the court.
12)    As directed by the probation officer, the defendant must notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and must permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
13)    The defendant must follow the instructions of the probation officer related to the conditions of supervision.




                 Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 4 of 7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))

                                                                                               Judgment—Page            5       of        7
DEFENDANT:                 BRIAR ROBERT DETWILER
CASE NUMBER:               0862 2:21CR01012-001
                                       SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the United States Probation
Office:

1.       The defendant must submit the defendant’s person, property, house, residence, vehicle, papers, computers [as defined in
         18 U.S.C. § 1030(e)(1)], other electronic communications or data storage devices or media, or office, to a search conducted
         by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The
         defendant must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
         United States Probation Office may conduct a search under this condition only when reasonable suspicion exists that the
         defendant has violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any
         search must be conducted at a reasonable time and in a reasonable manner.

2.       The defendant must participate in an evaluation for anger management and/or domestic violence. The defendant must
         complete any recommended treatment program, and follow the rules and regulations of the treatment program.

3.       The defendant must not be on the premises of any casino during any period of the defendant’s supervision. The defendant
         must not participate in any form of gambling, including but not limited to, lotteries, pull-tab cards, card games, on-line
         gambling, horse and dog racing, and sports betting.

4.       The defendant must participate in a gambling addiction evaluation. The defendant must complete any recommended
         treatment program, and follow the rules and regulations of the treatment program.

5.       The defendant must participate in a substance abuse evaluation. The defendant must complete any recommended
         treatment program, which may include a cognitive behavioral group, and follow the rules and regulations of the treatment
         program. The defendant must participate in a program of testing for substance abuse. The defendant must not attempt
         to obstruct or tamper with the testing methods.

6.       The defendant must not use or possess alcohol. The defendant is prohibited from entering any establishment that holds
         itself out to the public to be a bar or tavern without the prior permission of the United States Probation Office.

7.       The defendant must pay any fine, restitution, costs, and/or assessment imposed by this judgment.

8.       For as long as the defendant owes any fine, restitution, costs, and/or assessment imposed by this judgment, the defendant
         must provide the United States Probation Office with access to any requested financial information.

9.       For as long as the defendant owes any fine, restitution, costs, and/or assessment imposed by this judgment, the defendant
         must not incur new credit charges or open additional lines of credit without the approval of the United States Probation
         Office unless the defendant is in compliance with the installment payment schedule.




These conditions have been read to me. I fully understand the conditions and have been provided a copy of them. Upon a finding of a
violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of supervision; and/or (3) modify the
condition of supervision.



      Defendant                                                                                                  Date



      United States Probation Officer/Designated Witness                                                         Date




                 Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 5 of 7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                                          Judgment     6       of       7
DEFENDANT:                        BRIAR ROBERT DETWILER
CASE NUMBER:                      0862 2:21CR01012-001

                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                Assessment             AVAA Assessment1             JVTA Assessment2           Fine            Restitution
     TOTALS                     $ 100 (paid)                 $0                           $0                    $0             $ 52,684.38

    The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                          Total Loss3                     Restitution Ordered            Priority or Percentage
Farm Service Agency                                                                        $52,684.38                            1
("FSA")




TOTALS                              $                                         $             $52,684.38

    Restitution amount ordered pursuant to plea agreement $               at least $52,684.38

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the         fine  restitution.
          the interest requirement for the          fine     restitution is modified as follows:
 1
   Amy, Vicky, and Any Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 2
   Justice for Victims of Trafficking Act of 2015, 18 U.S.C. § 3014.
 3
   Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.



                 Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 6 of 7
AO 245 B&C (Rev. 01/17) Judgment and Amended Judgment in a Criminal Case
                                                                                        (NOTE: For Amended Judgment, Identify Changes with Asterisks (*))
                                                                                                             Judgment—Page         7       of       7
DEFENDANT:                 BRIAR ROBERT DETWILER
CASE NUMBER:               0862 2:21CR01012-001

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        $ 52,784.38 due immediately;

               not later than                                     , or
               in accordance with                C,          D,            E, or           F below; or

B        Payment to begin immediately (may be combined with                      C,          D, or             F below); or
C        Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or
D        Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E        Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F        Special instructions regarding the payment of criminal monetary penalties:
          It is ordered that $650 of the defendant's restitution obligation is payable immediately and the balance is due
          immediately in accordance with the following payment plan. If any of the defendant's court ordered financial obligations
          are still owed while the defendant is incarcerated, the defendant must make monthly payments in accordance with the
          Bureau of Prisons Financial Responsibility Program. The amount of the monthly payments will not exceed 50% of the
          funds available to the defendant through institution or non-institution (community) resources and will be at least $25
          per quarter. If the defendant still owes any portion of the financial obligation(s) at the time of release from
          imprisonment, the defendant must pay it as a condition of supervision and the United States Probation Office will pursue
          collection of the amount due pursuant to a payment schedule approved by the Court. The defendant must notify the
          United States Attorney for the Northern District of Iowa within 30 days of any change of the defendant's mailing or
          residence address that occurs while any portion of the financial obligation(s) remains unpaid. It is ordered that the
          defendant is given credit for the $5,000 paid to the Farm Service Agency (“FSA”) on September 23, 2019. The $100
          special assessment was paid on October 4, 2021, receipt #IAN110030252. A prejudgment payment in the amount of $650
          was made on October 4, 2021, receipt #IAN110030252.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.


    The defendant must pay the cost of prosecution.
    The defendant must pay the following court cost(s):
    The defendant must forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
                 Case 2:21-cr-01012-CJW-MAR Document 29 Filed 10/04/21 Page 7 of 7
